Filed 11/26/24                                     Case 23-23940                                           Doc 232



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          ) Case No. 23-23940 - B - 11
            Capsity, Inc.,                                 ) Docket Control No. CAE-1
                                  Debtor.                  ) Document No. 1
                                                           ) Date: 11/26/2024
                                                           ) Time: 11:00 AM
                                                           ) Dept: B



                                                        Order


           Findings of fact and conclusions of law having been stated orally on
           the record and good cause appearing.

           IT IS ORDERED that the case is DISMISSED.



                    November 26, 2024




           Continued Status Conference Re: Voluntary Petition - [1] - Chapter 11 Voluntary Petition Non-
           Individual. (Fee Paid $1738.00) (pdes) Additional attachment(s) added on 11/2/2023 (Desmond,
           Pete).
